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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

STEAMSHIP TRADE ASSOCIATION OF Case No. 1:22-cv-08228-JSR
BALTIMORE — INTERNATIONAL
LONGSHOREMEN’S ASSOCIATION CLASS ACTION
PENSION FUND, Individually and on Behalf of
All Others Similarly Situated, Judge: Hon. Jed 8. Rakoff
Date: June 10, 2024
Plaintiff, Time: 4:00 PM
v.

OLO INC., NOAH GLASS, and PETER
BENEVIDES,

Defendants.

Ay pRopOstD) FEDGMENT-AND-ORDER
APPROVING PLAN OF ALLOCATION

THIS ACTION having come before the Court for hearing on the motion of Class
Representative Steamship Trade Association of Baltimore — International Longshoremen’s
Association Pension Fund, on behalf of itself and the Class, for final approval of the proposed
class action Settlement and approval of the proposed Plan of Allocation for proceeds of the
Settlement; the Court, having considered all papers filed and proceedings held herein and
otherwise being fully informed;!

IT IS HEREBY ORDERED THAT:

1. Pursuant to and in compliance with Rule 23 of the Federal Rules of Civil Procedure,

this Court hereby finds and concludes that due and adequate notice was directed to Eligible Persons

I This Order operates by reference to the definitions in the Stipulation and Agreement of

Settlement and Release (the “Stipulation”), dated January 16, 2024 (ECF No. 115-1), and all
capitalized terms used, but not defined, herein shall have the same meanings as those set forth in
the Stipulation.

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who are Class Members who could be identified with reasonable effort, advising them of the Plan
of Allocation and their right to object thereto (ECF No. 117-1), and a full and fair opportunity was
accorded to Eligible Persons who are Class Members to be heard with respect to the Plan of
Allocation. There were no objections to the Plan of Allocation.

2. The Court hereby finds and concludes that the Plan of Allocation, set forth in the
Notice of Pendency and Proposed Settlement of Class Action, provides a fair, reasonable, and
equitable basis upon which to allocate the proceeds of the Net Settlement Fund among eligible
Class Members.

3. The Court finds that the Plan of Allocation is, in all respects, fair and reasonable to
the Class, and the Court hereby approves the Plan of Allocation.

IT IS SO ORDERED.

DATED: clu Y xe cy

JED g. RAKOFF, U.S.D.J.
SOUTHERN DISTRICT OF NEW YORK

